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                          DECLARATION OF RACHEL LEVITAN


 I, Rachel Levitan, declare as follows:

       1.      I am Chief Global Policy and Advocacy Officer of HIAS. I submit this

declaration in support of Plaintiffs’ Motion to Enforce the Temporary Restraining Order (TRO). The

statements made in this declaration are based on my personal knowledge and my understanding

of information made available to me pursuant to my duties at HIAS.

       2.      HIAS is a global, faith-based 501(c)(3) nonprofit organization headquartered at

1300 Spring Street, Silver Spring, Maryland, 20910. Working with the organized American

Jewish community, HIAS is dedicated to ensuring that the world’s forcibly displaced people find

welcome, safety and freedom.

       3.      HIAS currently has $6,492,173.48 in outstanding invoices issued to the United

States Agency for International Development (USAID) and the State Department’s Bureau of

Population, Refugees and Migration (PRM) and Bureau of Democracy, Human Rights, and

Labor for past work (all work performed prior to the receipt of USAID and the State

Department’s stop work orders). HIAS has received no payment on these invoices. Nor has

HIAS received any other payment, from USAID or the State Department, since this Court issued

the TRO in this case.

       4.      On February 18, 2025, HIAS received an email from the Deputy Comptroller of

PRM, Philip Denino, in response to a February 16, 2025 email HIAS sent the Department

seeking guidance regarding the TRO’s impact on certain suspension and termination notices

HIAS had received from State. Mr. Denino’s email is attached herewith as Exhibit 1. In the

email, Mr. Denino represented, “there is no further guidance available to share. I can only

refer you to the Suspension memo that we have previously issued. I will share any new guidance
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that we receive. We continue to try to get payments for activities prior to 1/24/25 approved,

but the process is new and is taking time.” (emphases added).

       5.      On February 18, 2025, HIAS also received an email from Carli Schulz Acting

Supervisory Agreement Officer at USAID, sent in response to a similar request for guidance

from HIAS sent earlier that day. Ms. Schulz responded that USAID “is aware of payment issues

and is working to address them.” Ms. Schulz’s email is attached herewith as Exhibit 2.




I declare under penalty of perjury that the foregoing is true and correct.


Executed on February 20, 2025, in Silver Spring, Maryland.




                                                      Rachel Levitan
                                                      Chief Global Policy and Advocacy Officer
                                                      HIAS




                                                  2
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                            Exhibit 1
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From:             Denino, Philip M
To:               Guillermo Birmingham
Cc:               Kristen Strain; PRM-Comp-Mgt; David Weiss; Fatou Jobe; Timothy Bamwita; Tatyana Rapaport; Thuba Roush
Subject:          RE: Termination Notices: Guidance Sought
Date:             Tuesday, February 18, 2025 4:52:08 PM




 EXTERNAL EMAIL


Mr. Birmingham,
At this time, there is no further guidance available to share. I can only refer you to the
Suspension memo that we have previously issued. I will share any new guidance that we
receive. We continue to try to get payments for activities prior to 1/24/25 approved, but the
process is new and is taking time.



Philip Denino
Deputy Comptroller
Bureau of Population, Refugees and Migration
U.S. Department of State
(771) 204-4958
DeninoPM@state.gov




From: Guillermo Birmingham <guillermo.birmingham@hias.org>
Sent: Sunday, February 16, 2025 2:38 PM
To: Denino, Philip M <DeninoPM@state.gov>
Cc: Kristen Strain <kristen.strain@hias.org>; PRM-Comp-Mgt <PRM-Comp-Mgt@state.gov>; David
Weiss <david.weiss@hias.org>; Fatou Jobe <fatou.jobe@hias.org>; Timothy Bamwita
<timothy.bamwita@hias.org>; Tatyana Rapaport <Tatyana.Rapaport@hias.org>; Thuba Roush
<thuba.roush@hias.org>
Subject: Termination Notices: Guidance Sought


   Some people who received this message don't often get email from guillermo.birmingham@hias.org. Learn why
   this is important

Philip,

We received PRM’s attached suspension and termination notices on the agreements
referenced therein and had suspended work and begun winding down in accordance with
those notices. We now understand that a court has enjoined the suspensions and
terminations. Accordingly, we understand that we should resume performance of the
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agreements listed in the attached notices. However, given the fact that we have not been
paid for outstanding amounts owed under the suspended and terminated agreements and
we do not know whether we can expect to receive future payments during the term of the
court’s temporary restraining order, we cannot resume performance. Please provide any
guidance available on this.

Best regards,

Guillermo
Guillermo A Birmingham, CPA
Interim Chief Financial Officer
hias.org | C 202-230-2225

HIAS Welcome the stranger. Protect the refugee.
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                            Exhibit 2
           Case 1:25-cv-00402-AHA                                                              Document 29-3                                          Filed 02/20/25                                     Page 7 of 10


From:             Carli Schulz
To:               Guillermo Birmingham
Cc:               Christie Savage; bha.southamerica.dc.venezuela@usaid.gov; BHA.SouthAmerica.Field.Venezuela@usaid.gov; pgosselin@usaid.gov; anieman@usaid.gov; jnahm@usaid.gov; Kristen Strain; David Weiss; Sabrina Lustgarten; Isabel Altuve
Subject:          Re: Request for Clarification: Partial Award Suspension (720BHA24GR00159)
Date:             Tuesday, February 18, 2025 10:42:45 AM




 EXTERNAL EMAIL


Dear Guillermo,

Apologies for the delay in responding. Briefly noting that USAID is aware of payment issues and is working to address them. Please feel free to copy me as alternate AOR on any
correspondence with other USAID offices regarding this issue. We appreciate HIAS's communication to date.

All the best,
Carli

On Tue, Feb 18, 2025 at 8:31 AM 'Guillermo Birmingham' via BHA.SouthAmerica.DC.Venezuela <bha.southamerica.dc.venezuela@usaid.gov> wrote:

  Ms. Savage,



  In addition to our messages below, we’d like to add the following:



  We received BHA’s attached partial suspension notice and stopped work in accordance with the notice. We now understand that a court has enjoined the suspension. Accordingly, we
  understand that we should resume performance of the agreements listed in the attached notices. However, given the fact that we have not been paid for outstanding amounts owed under
  the suspended agreement and we do not know whether we can expect to receive future payments during the term of the court’s temporary restraining order, we cannot resume
  performance. Please provide any guidance available on this.



  Best regards,



  Guillermo



  Guillermo A Birmingham, CPA
  Interim Chief Financial Officer
  hias.org | C 202-230-2225

  HIAS Welcome the stranger. Protect the refugee.




  From: Guillermo Birmingham
  Sent: Thursday, February 13, 2025 5:02 PM
  To: Christie Savage <chsavage@usaid.gov>
  Cc: bha.southamerica.dc.venezuela@usaid.gov; BHA.SouthAmerica.Field.Venezuela@usaid.gov; pgosselin@usaid.gov; anieman@usaid.gov; jnahm@usaid.gov
  Subject: RE: Request for Clarification: Partial Award Suspension (720BHA24GR00159)



  Dear Ms. Savage,



  One item I left off from my message below is that the pending reimbursement request was submitted to the CFO CMP Electronic Invoices system on January 24, 2025 for $1,386,956.90
  (see attached) and we received confirmation of your agency’s receipt on the same day (attached).



  I look forward to hearing from you soon.



  Best Regards,



  Guillermo




  Guillermo A Birmingham, CPA
  Interim Chief Financial Officer
  hias.org | C 202-230-2225

  HIAS Welcome the stranger. Protect the refugee.




  From: Guillermo Birmingham
  Sent: Thursday, February 13, 2025 4:49 PM
  To: Christie Savage <chsavage@usaid.gov>
  Cc: bha.southamerica.dc.venezuela@usaid.gov; BHA.SouthAmerica.Field.Venezuela@usaid.gov; pgosselin@usaid.gov; anieman@usaid.gov; jnahm@usaid.gov
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Subject: RE: Request for Clarification: Partial Award Suspension (720BHA24GR00159)



Dear Ms. Savage,



We wanted to follow up on the message sent to you below. Since we have not received a reply from you. We want to proceed with our interpretation that the work we are performing in
Venezuela under the current agreement is lifesaving humanitarian aid. However, due to the current situation with payment processing we are averse to doing so unless we receive some
guidance from you explicitly that we should proceed. Based on your Partial Award Suspension notice, it appears that it is your agency’s intention that the project continues to provide
services as per the agreement and the additional guidance in the notice.



We would also like to follow up on pending draw requests that were submitted for work performed prior to the issuance of the Suspension Notices on the subject award. While we
understand from several sources across several agencies, complete guidance is pending on payment processing, but as I know you are aware, the delay in payment is causing severe
financial challenges for organizations like HIAS. We have already laid off close to 400 staff members across our international programs, but we have held off laying off any from the
Venezuela program based on the award partial suspension.



Any guidance you may be able to provide is greatly appreciated.



Best Regards,




Guillermo



Guillermo A Birmingham, CPA
Interim Chief Financial Officer
hias.org | C 202-230-2225

HIAS Welcome the stranger. Protect the refugee.




From: Guillermo Birmingham
Sent: Tuesday, February 4, 2025 9:34 AM
To: Christie Savage <chsavage@usaid.gov>
Cc: Mark Hetfield <mark.hetfield@hias.org>; Carrie Brekke <carrie.brekke@hias.org>; Elisabeth Sigler <elisabeth.sigler@hias.org>; BHA Grants Unit Admin <bha.grantsunit.admin@usaid.gov>;
Sabrina Lustgarten <sabrina.lustgarten@hias.org>; David Weiss <david.weiss@hias.org>; Erik Gabriel <erik.gabriel@hias.org>; James Hauser <james.hauser@hias.org>; Beth Oppenheim
<beth.oppenheim@hias.org>; Alice Robertson <alice.robertson@hias.org>
Subject: Request for Clarification: Partial Award Suspension (720BHA24GR00159)



Dear Ms. Savage,



HIAS acknowledges receipt of the attached Partial Suspension Notice memorandum.



I am writing to request clarification as to whether HIAS’ activities, conducted in Venezuela pursuant to BHA awards, are exempt from the 90-day suspension expressed in President
Trump’s executive order, Reevaluating and Realigning U.S. Foreign Aid, which suspended foreign assistance. To the extent not already exempt, HIAS requests an emergency
waiver.



We are in receipt of USAID’s Implementation of the Funding Pause for Foreign Assistance, dated January 28, 2025, which served as “official notice to all implementing partners to . . .
take immediate action to pause implementation of USAID program-funded activities and otherwise refrain from further commitments or expenditures of USAID funding, until further
notice.”



The notice further stated that it applies to all awards, grants, cooperative agreements, etc., “unless an implementing partner has received formal notification . . . that their award is
covered, in whole or in part, by a current waiver.”



We understood this notice to be guidance to our organization that we should stop all work unless otherwise notified by USAID that our work qualifies for a waiver. While we have not
received explicit notice that our BHA-funded work in Venezuela qualifies for a waiver, we did receive, on January 31, a notice of “partial award suspension,” in which the Agreement
Officer directed “partial suspension of activities under your award that are not for lifesaving humanitarian assistance, which includes essential medicines, medical services, food, shelter,
and subsistence assistance, as well as necessary supplies and reasonable administrative costs to facilitate the delivery of such assistance….”



We interpret this BHA notice to mean that we should NOT stop work that we, in good faith, assess to be lifesaving. We assess the following work in Venezuela, funded by
BHA, to be lifesaving humanitarian aid, and to the extent not already covered by a self-executing waiver, HIAS hereby requests an immediate waiver that would allow this
work to continue.



The project, “Multisectoral Assistance and Life-saving Protection Services for Most Vulnerable and At-risk Venezuelans Affected by the Crisis in Venezuela” is designed for the most
vulnerable populations in an unstable environment, including survivors of and people at risk of sexual violence and human trafficking, individuals with disabilities, children and
adolescents, and the elderly. The focus is to provide comprehensive life-saving protection services and multisectoral assistance to save lives and protect people.



The project includes emergency response in the sectors of protection, water, sanitation and hygiene and health.
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The protection sector includes emergency and multisectoral activities in the sub-sector of child protection for children at risk, services for survivors/cases of sexual violence and human
trafficking, and psychosocial support services for the elderly and people with disabilities at risks. These sub-sectors activities include case management services, psychosocial support
services, safe spaces for children, information and legal advice, follow up and referrals, food assistance, in-kind assistance and services.



The health sector includes the provision of health services and support to victims of sexual violence and people with disabilities, through the sub-sector essential health services,
pharmaceuticals and medical commodities and health systems support. The sub-sector, Essential Health Services, includes the provision of clinical health services to victims of sexual
violence, and physical and functional rehabilitation services for people with disabilities. The sub-sector, Pharmaceuticals and Medical Commodities. includes the provision of non-
restricted medical equipment and supplies/low-complexity assistive devices and support products to people with disabilities. The sub-sector, Health Systems Support, includes training of
health personnel (doctors and nurses) on the clinical management of sexual violence victims and management and care of persons with disabilities.



The WASH sector includes the promotion of healthy water consumption and sanitation and hygiene practices, to mitigate public health risks that could affect vulnerable populations and
communities. The sub-sector, Water Supply, includes the distribution of ceramic household filters for water treatment at the household level and water quality monitoring. This activity is
complemented by the promotion of HWTS methods included in the hygiene promotion activities. The sub-sector, Hygiene Promotion, includes information and sessions for vulnerable
households and communities on hygiene promotion, disease prevention, protection risks associated with poor sanitation and hygiene practices, and participatory hygiene promotion
initiatives with HWTS methods for safe household (HH) water treatment and storage.



Project: Multisectoral Assistance and Life-saving Protection Services for Most Vulnerable and At-risk Venezuelans Affected by the Crisis in Venezuela:

The project aims to provide life-saving protection services and multisectoral assistance to vulnerable and at-risk Venezuelan individuals, including survivors and those at risk of sexual
exploitation and violence and human trafficking, children and adolescents, elderly, and the disabled. The project includes emergency response in the sectors of protection, water,
sanitation and hygiene and health.

The protection sector includes the following sub-sectors and protection emergency activities:



Child Protection: Implementation of a multi-sector emergency response for children and adolescents at-risk and survivors of child violence, as well as their parents and caregivers. The
response includes case management services, psychosocial support services, safe spaces for children, information and legal advice, follow up and referrals, food assistance, and in-kind
assistance and services.



Sexual Violence and Exploitation Response: Implementation of a multi-sector emergency response for people at risk and survivors of domestic violence, sexual violence, sexual
exploitation, and human trafficking. The response includes case management services, psychosocial support services, information and legal advice; follow up and referrals, food
assistance and in-kind assistance and services.



Psychosocial Support Services (PSS): Implementation of multi-sectoral emergency response protocols to assist vulnerable people at risk such as the elderly and disabled. The response
includes psychosocial support services, information, and legal advice; follow up and referrals; food assistance; in-kind assistance and services; and strategies to access communities and
identify of cases at risk.



The Health Sector includes the provision of health services and support to victims of sexual violence and people with disabilities.

Essential Health Services: Provision of clinical health services to victims of sexual violence and health services for vulnerable and at-risk people with disabilities, contributing to their
health care, protection and well-being.

      Provision of clinical care to victims of sexual violence following the standard National Protocol for the Clinical Management of Sexual Violence (2022).
      Provision of physical and functional rehabilitation services for people with disabilities, including physiotherapy, based on an analysis of context and personal needs.



Pharmaceuticals and Medical Commodities:

-Provision of pharmaceutical and medical supplies (not paid for by this project/BHA funds but mentioned in the project) as part of the clinical care of sexual violence and aligned to the
National Protocol for the Clinical Management of Sexual Violence;

-Provision of BHA EAG´s non-restricted medical equipment and supplies/low-complexity assistive devices and support products that will be delivered within the framework of
rehabilitation processes to people with disabilities.



Health Systems Support: Training of health personnel (doctors and nurses) with a defined curriculum and set learning objectives to achieve knowledge in the Clinical Management of
Sexual Violence Protocol and Management and Care of Persons with Disabilities and their Caregivers.



The WASH sector includes the promotion of healthy water consumption, sanitation and hygiene practices through a protection and community-based approach, to mitigate health risks.



Water Supply: Distribution of ceramic household filters for water treatment at HH level and water quality monitoring. This activity is complemented by the promotion of HWTS
methods included in the hygiene promotion activities.



Hygiene Promotion: Promotion of appropriate WASH practices and behavior change methodologies. Training sessions for community leaders on hygiene promotion and its relationship
to well-being, including information on disease prevention and protection risks associated with poor sanitation and hygiene practices; participatory hygiene promotion initiatives with
HWTS methods for safe household (HH) water treatment and storage.



Given that these activities have real impact and life or death consequences for our clients, we request an immediate response from BHA, making clear which projects are
already covered by a standing waiver and which projects BHA will issue waivers for prospectively.




Best Regards,
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 Guillermo

 Guillermo A Birmingham, CPA
 Interim Chief Financial Officer
 hias.org | C 202-230-2225

 HIAS Welcome the stranger. Protect the refugee.




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 To view this discussion visit
 https://groups.google.com/a/usaid.gov/d/msgid/bha.southamerica.dc.venezuela/DS0PR14MB643277DD024DD681A6A3D008EDF82%40DS0PR14MB6432.namprd14.prod.outlook.com.


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Carli Schulz ("KAHR-lee" ; she/her)
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